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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Symbology Innovations LLC
                                     Plaintiff,
v.                                                      Case No.: 1:18−cv−03434
                                                        Honorable Robert M. Dow Jr.
Golden Grain Company
                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, June 29, 2018:


        MINUTE entry before the Honorable Robert M. Dow, Jr: Pursuant to Fed. R. Civ.
P. 41 (a) and the notice of voluntary dismissal [9], this action is dismissed with prejudice.
Each party shall bear its own costs, expenses, and attorneys' fees. Status hearing set for
7/17/2018 is stricken. Civil case terminated. Mailed notice(cdh, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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